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            Online Video Hearings at the Social Security
            Administration
Our hearing offices are currently closed to the public    sent with your hearing notice. You also can
due to the Coronavirus (COVID-19) pandemic, so            agree to appear at an online video hearing by
we cannot offer in-person services in our hearing         sending us a written statement that includes
offices at this time. We are still holding hearings, but  the following information: your name, email
we are conducting them remotely for the safety of         address, and cell phone number. You can fax or
the public and our employees. You have the option         mail your completed form or written statement
of appearing at a video hearing using a platform          to your local hearing office. To find your
called Microsoft Teams.                                   hearing office’s address and fax number, visit
                                                          www.ssa.gov/appeals/ho_locator.html.
What are “online video hearings”?
                                                      • For Representatives: If a claimant agrees to
An online video hearing is a secure hearing that
                                                          appear at an online video hearing, his or her
we conduct by video, over the internet, using
                                                          appointed representative, if any, must also
Microsoft Teams. You can appear at an online video
                                                          agree to appear in that manner. An appointed
hearing safely and securely from anywhere using
                                                          representative should notify us whether both he
a smartphone, tablet, or camera-enabled computer
                                                          or she and the claimant agree to appear at an
with a secure internet connection.
                                                          online video hearing. We highly recommend that
What are the technology requirements to                   representatives provide this notification in writing
participate in an online video hearing?                   by uploading it directly to the electronic record
To participate in an online video hearing, you must       using Appointed Representative Services.
have access to email. You may appear at the           • What happens if I do not want to appear at an
hearing using a personal desktop computer, laptop,        online video hearing? We do not require you
or an Android/Apple tablet or phone with a secure         to participate in an online video hearing if you
internet connection. Your device must have a              do not want to do so. If you previously agreed
camera, microphone, and speakers.                         to appear at an online video hearing and then
Before the date of your online video hearing, we          changed your mind, simply call your local
will email you a link to a user guide that explains       hearing office at the number provided in your
how to access and use Microsoft Teams on your             hearing notice and let us know.
personal device of choice. You can also visit             If you do not want to appear at an online video
www.ssa.gov/appeals/hearing_options.html to               hearing, you have the option of appearing at a
view the user guide.                                      hearing by telephone. If you also do not want
                                                          to appear at a hearing by telephone, we will
How do I notify SSA if I want to appear at an             delay scheduling your hearing, or, if already
online video hearing?                                     scheduled, we will postpone your hearing until
You may call or write your local SSA hearing office       our offices reopen.
to let us know if you agree to appear at an online
                                                      What happens before my online
video hearing.
                                                      video hearing?
• Call Us: You can agree to appear at an online
   video hearing by calling your local hearing office If you agree to appear at an online video
   at the number provided in your hearing notice.     hearing, we will email you a link to where
   We will ask you to provide your name, email        you will find instructions about how to access
   address, and cell phone number.                    and use the Microsoft Teams application
                                                      before the hearing. You can also visit
• Notify Us In Writing: You can agree to appear       www.ssa.gov/appeals/hearings_options.html to
   at an online video hearing by completing           view the user guide. Standard message and data
   and returning the COVID-19 Public Health           charges may apply
   Emergency Hearing Agreement Form that we

                                                                                                                         (over)
SSA.gov                                                                 Online Video Hearings at the Social Security Administration
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To ensure you can participate in an online video         Other participants, such as a vocational expert,
hearing using Microsoft Teams, we recommend you          medical expert, or interpreter, may join the online
complete the following before your hearing begins:       video hearing by phone.
When you receive the invitation email with the           How can I prepare for my online
hearing link, click the link and test your connection.   video hearing?
• Personal computer: If you have a web                   On the day of the hearing, before your hearing
  browser that supports Microsoft Teams,                 begins, we may call you to confirm that you can
  you will see Microsoft Teams open. If your             access the online video hearing using Microsoft
  web browser does not support Microsoft                 Teams and to provide technical assistance if
  Teams, you will be prompted to download                necessary. You also should:
  the free application. If you have technical
  difficulties, contact the hearing office. To find      • Ensure your personal computer or mobile device
  your hearing office’s phone number, visit                 remains connected to a secure wireless or wired
  www.ssa.gov/appeals/ho_locator.html.                      internet connection from a private location (e.g.,
                                                            at your home or office).
• Mobile device (Apple/Android): On a mobile
  device (tablet or cell phone), you will be             • Connect to a nearby power source to charge
  prompted to download the free Microsoft                   your computer or mobile device, as needed.
  Teams application.                                     • Notify the ALJ if the camera, microphone, or
  Disclaimer: Please note that Microsoft Teams              speakers are not working properly or if you
  is a non-government, third party application.             experience any other technical issues during
  To participate in an online video hearing                 the online video hearing. In the event you
  using Microsoft Teams, you may be asked                   become disconnected during your online video
  to agree to Microsoft’s terms of use and                  hearing, please attempt to reconnect as quickly
  privacy policies, which we do not control. Our            as possible. If the ALJ is unable to continue the
  Internet Privacy Policy describes our online              hearing, he or she may reschedule the hearing
  information practices and does not apply to               for a later date.
  Microsoft Teams. You can find our policy at            Please visit the
  www.ssa.gov/agency/privacy.html.                       www.ssa.gov/appeals/hearing_options.html
  Before the date of the scheduled online video          webpage for additional information about any
  hearing, we will email you a reminder with             technical requirements to appear by video using
  the link to your online video hearing. Click           Microsoft Teams.
  the link 15 minutes before the start of your           Your Privacy Matters
  scheduled hearing.                                     During online video hearings, all employees connect
What happens during the online                           to the hearing using SSA’s secure agency network
video hearing?                                           and hardware. The ALJ will conduct the video
                                                         hearing from his or her personal residence, using a
An Administrative Law Judge (ALJ) will conduct
                                                         secure internet connection from a private room. To
the online video hearing in the same manner as in
                                                         further protect the privacy of hearing participants,
person and telephone hearings. The ALJ will ask
                                                         we ask that all hearing participants join the hearing
you and any witness(es) to take an oath or affirm
                                                         from a private location.
that your testimony is true. You will have a chance
to testify and tell the ALJ about your case, and the
ALJ may ask you and any witness(es) questions
to help make a decision in your case. You also will
have the opportunity to ask questions during the
hearing. You will be able to see and hear the ALJ
and your representative, if you have one appointed.


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